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12. A'I'TORNEY'S NAME ratN .l.
ANDMAILINGADD §§ am¢,M ,LaatNama,lndla¢ln¢anyan(|lx)

ScholI, Michael E

8 South Third S!

4£h Floor

Mernphjs TN 38103

TdephomNumber: __ _.._ ______

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14. NAME AN'D MAILING ADDRESS OF LAW FIRM(aaly pawlda per lmcdom)

 

COURT ORDER

13.

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FROM TO

 

 

19. CER'I'IFICATION OF A'ITORNEY!PAYEE FOR TI'IE FERIOD OF SERVICE

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15. a. Arraigomant and/or Plea
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mile l!¢l' hour - $ ) TOTALS:
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Co-Counaal

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30. AP¥OMT TERMWATION DA'I'B
Il' OTHER 1'l-L\N CASB COMPLE'F[ON

21. CASE DISPGSITION

 

 

22. CLAIM STATUS U dual hyman l:] lmrda hyman Numbar

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lawear or affirm the truth or correctness of the above statementl.

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. IN COURT COMP.

  

  
  

24. OU'I‘ OF COU'RT COMP.

25. TRAVEL EXPENSES

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18. SIGNATURE OF 'I'HE PR.ES[DING .IUDICIAL OFFICER

DATE

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29. l.N COURT COMP. 30. OUT OF COU`RT COMP.

 

 

31. TRAVEL EXPENSES

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

i\/lemphis7 TN 38103--238

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

